        Case 4:97-cr-40069-JPG                     Document 270           Filed 02/08/08           Page 1 of 2         Page ID #88
% A 0 245D   (Rev. 12107) Judgment in a Criminal Case for Revocations
             Sheet I
                                                                                                                           L-




                                     UNITEDSTATES      COURT
                                                DISTRICT

          UNITED STATES OF AMERICA                                      Judgement in a Criminal C a s e
                       v.                                               (For Revocation of Probation or Supervised Release)
              HARLIS R. MOULTON

                                                                        Case No. 4:97CR40069-006-JPG
                                                                        USM No. 04168-025
                                                                        Judith A. Kuenneke, AFPD
                                                                                           Defendant's Attorney
THE DEFENDANT:
4admitted guilt to violation of condition(s)           as alleged in Petition            of the term of supervision.
    was found in violation of condition(s)                                           after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                              Violation Ended
Special                         The defendant ceased to reside in a half-way house as                         08/30/2007




       The defendant is sentenced as provided in pages 2 through            2        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has not violated condition(s)                            and is discharged as to such violation(s) condition

           It is ordered that the defendant must notif the United States attorney for this +strict within 30,days of any ,
change of name, residence, or mailing address untiiall fines, restltuhon, costs, and specla1 assessments ~mposedby t h ~judgment
                                                                                                                           s     are
fully pa!d. If ordered to pay restitutioq the defendant must notify the court and Unlted States attorney of matenal changes m
econonnc cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1333                     02/0112008

Defendant's Year of Birth:          1978

City and State of Defendant's Residence:
Centraiia, IL
                                                                         J. Phil u b e r t                           District Judae
                                                                                                Name and Title of ludne
          Case 4:97-cr-40069-JPG                     Document 270                Filed 02/08/08      Page 2 of 2      Page ID #89
  A 0 245D    (Rev. 12107) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                                      Judgment-Page   2of         2
  DEFENDANT: HARLIS R. MOULTON
  CASE NUMBER. 4:97CR40069-006-JPG


                                                                 IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
28 months




       O( The court makes the following recommendations to the Bureau of Prisons:
That the defendant be placed in the Intensive Drug Treatment Program.



       $ The defendant is remanded to the custody of the United States Marshal.
          The defendant shall surrender to the United States Marshal for this district:
               at                                        a.m.            p.m.    on
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office

                                                                         RETURN
  I have executed this judgment as follows:




          Defendant delivered on                                                          to

  at                                                  with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                                BY
                                                                                               DEPUTY UNITED STATES MARSHAL
